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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO.: 23-CR-20175-KMW

UNITED STATES OF AMERICA,                     §

       Plaintiff,                             §

vs.                                           §

DANIEL ALBERTO CARPMAN,                       §


       Defendant.                             §
                              /

                          MOTION FOR DISCLOSURE OF
                EXPERT WITNESS SUMMARIES, DOCUMENTS, OBJECTS,
                     REPORTS OF EXAMINATIONS, AND TESTS

 COMES NOW, the Defendant DANIEL CARPMAN, by and through his undersigned counsel,

 and moves this Court to enter an order requiring the Government to provide the following

 supplemental discovery prescribed by federal law:


1.     The defendant requests disclosure under Fed. R. Crim. P. 16(a)(1)(G) of expert testimony
that the Government intends to introduce in trial during its case-in-chief. This includes experts under

Federal Rule of Evidence 702 and 704, including law-enforcement officers who will testify as
experts. In accordance with Rule 16(a)(1)(G)(iii) the disclosure for each expert witness must contain

the name of the expert witness, the witness' qualifications, including all publications authored in the

previous 10 years, a complete statement of all of the witness' opinions, and the bases and reasons

for the opinions, and a list of all other cases in which, during the previous 4 years, the witness has

testified as an expert at trial or by deposition. Finally, Rule 16(a)(1)(G)(v) requires that each

disclosure must be approved and signed by the witness. The purpose of the amended Rule, which

became effective in December of 2022, is to facilitate trial preparation, allowing the parties a
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fair opportunity to prepare to cross examine expert witnesses and to provide ample information so

that the defense can secure opposing expert testimony, if needed. For these reasons, this is an

ongoing discovery obligation and upon a more complete review of the discovery and the discovery

yet to be provided, undersigned counsel will comply with the reciprocal nature of the rule.


         2. Additionally and by this filing pursuant to Rule 16(a)(1)(E) the Defendant requests
 all documents and objects obtained from or belonging to the defendant; that the government

 intends to use in its case-in-chief at trial and that is material to preparing the defense, including

 but not limited to all items seized pursuant to a search of the defendant’s home and office on the

 day of his arrest.


         3. Finally, the Defendant requests the results or reports of any scientific test or
 experiment as required by Rule 16(a)(1)(F).

               WHEREFORE the Defendant respectfully requests that the Court enter an Order

 requiring the Government to disclose the items herein and to set a time for the Government’s

 disclosure.




                      [CERTIFICATE OF SERVICE ON FOLLOWING PAGE]
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                               CERTIFICATE OF SERVICE


        I HEREBY CERTIFY that a true and correct copy of the foregoing was tendered via

 CM/ECF portal to all interested parties on this 21st day of July 2023.

                                               Respectfully submitted,

                                               RATZAN & FACCIDOMO, LLC
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                                       By:    s/ Jude M. Faccidomo
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